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  Exhibit A — Witness Tampering


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   Done                                                           Plf000002




          From:                                Bob Malm <bob.malm@gracealex.org>
          Sent                                 Wednesday, February 07, 2018 4:12 PM
          To:                                  dee@thewartburgwatch.com
          Cc:                                 Dee Parsons: "Leslie Malm";"Pat Wingo";jchiow@rio.com
          Subject                             letter of 1/19


          Dee,I'm disappointed to read a letter i assume Eric asked you to write dated 1/19/18 that he posted on one of the two
          web sites where he continues to attack me and the leadership and,in fact, most of the congregation of Grace Church.
          You might not consider him violent or threatening; however, many at Grace do. The Alexandria Police Dept does not get
          involved in cases unless they are very concerned about the individual's behavior. Eric can claim that(filed a "false police
          report", but that's not true. And the Magistrate for the Commonwealth Court would not rule to place a two year
          protective order on Eric if there was not good cause. Eric is using you to try to counteract the disciplinary measures our
          leadership has decided are necessary to take with the advice of the APD. Lastly, you need to know that I have never met
          his Mother; as far as I know she has never attended Grace Church. Eric testified to this under oath in Court. Nor have I
          ever met any of his cousins and whoever else he claims are "family members" responsible for blogging. For him to tell
          you he can not "restrain" or "control" their blogging seems at best disingenuous. As he has taken advantage of your
          reputation and credibility, so too, he has taken advantage of "family members" who have had nothing to do with Grace
          Church. Vou spoke with my wife some weeks ago and told her you were not going to post Eric's material. Now your
          letter appears as a way for him to deal with a very real court order. Note that the Magistrate issued his order 5 days
          after you wrote this letter. We know Eric will appeal this order. We are prepared to hold him accountable in whatever
          way it is necessary. Jesus is "truth". Eric should learn this...and any one wanting to help him should not compromise the
          truth, nor accept half truths and lies.

          The Rev. Robert H. Malm
          Groce Episcopal Church
          36GI Russell Rood
          Alexandria. VA 22305
          703.549.1980
          wvsrw.oracealex.orQ
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  Exhibit B - Website Terms and Conditions




                      Interested In being part of a church that tries to drag the dying into court?

                           If so, Grace Episcopal Alexandria is the perfect church for you.

      Here is a photo of my late mother, dying of COPD. taken at about the time rector Bob Malm and Grace
                                     Episcopal Church tried to drag her into court.



      Access to this blog is prohibited to Bob Malm. Lindsey Malm Anders, or any members of their families.
      Access also is forbidden to anyone acting, directly or indirectly, on their behalf. In addition, by accessing
         this site, you agree that no content, including screen caps, may be shared with any of the above
                                                 parties, directly or indirectly.

       You also may not access this blog if you believe that writing about abusive conduct in a church is not
         protected by the First Amendment, or you believe that writing about abuse in a church constitutes
                               harassment of those persons/organizations referenced.

      Violation of these these terms and conditions is a violation of Virginia Code § 18.2-151 et seq and may
                                          result in civil and criminal penalties.

       This blog Is not an official publication of Grace Episcopal Church or the Episcopal Diocese of Virginia
                            and is neither sponsored nor endorsed by either organization.




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  Exhibit C — Website Access Logs. Entries Located In "Brunswick" are Accesses From Defendant's Home
  in Jekyli Island Georgia


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